
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-07-00097-CR


______________________________




EDDIE WAYNE ALLEN, JR., Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 124th Judicial District Court


Gregg County, Texas


Trial Court No. 33869-B




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Eddie Wayne Allen, Jr., has appealed from his conviction for driving while intoxicated,
subsequent offense.  See Tex. Penal Code Ann. § 49.04 (Vernon 2003), § 49.09(b) (Vernon Supp.
2006).  Allen pled guilty and stipulated to the evidence.  He was sentenced by the trial court to five
years' imprisonment.

	On appeal, Allen contends that the punishment assessed is disproportionate to his crime.  To
preserve his complaint for appellate review, Allen must have presented to the trial court a timely
request, objection, or motion that stated the specific grounds for the desired ruling, or the complaint
must be apparent from the context.  See Tex. R. App. P. 33.1(a)(1); Harrison v. State, 187 S.W.3d
429, 433 (Tex. Crim. App. 2005); Williams v. State, 191 S.W.3d 242, 262 (Tex. App.--Austin 2006, 
no pet.) (claims of cruel and unusual punishment must be presented in timely manner); Nicholas v.
State, 56 S.W.3d 760, 768 (Tex. App.--Houston [14th Dist.] 2001, pet. ref'd) (failure to complain
to trial court that sentences were cruel and unusual waived claim of error for appellate review).  We
have reviewed the record of the trial proceeding.  No relevant request, objection or motion was
made.   And, while this Court has held that a motion for new trial is an appropriate way to preserve
this type of claim for review (see Williamson v. State, 175 S.W.3d 522, 523-24 (Tex.
App.--Texarkana 2005, no pet.); Delacruz v. State, 167 S.W.3d 904 (Tex. App.--Texarkana 2005,
no pet.)), Allen did not file a motion for new trial.  Allen has not preserved this issue for appeal.

	Therefore, we affirm the trial court's judgment.



						Josh R. Morriss, III

						Chief Justice

										

Date Submitted:	September 26, 2007

Date Decided:		September 27, 2007


Do Not Publish



t-family: Univers Medium"&gt;Standard of Review

	We review a dismissal pursuant to a challenged HCL expert report for abuse of discretion. 
See Am. Transitional Care Ctrs. of Tex., Inc. v. Palacios, 46 S.W.3d 873, 877 (Tex. 2001) (standard
applied to predecessor statute); Intracare Hosp. N. v. Campbell, 222 S.W.3d 790, 794 (Tex.
App.--Houston [1st Dist.] 2007, no pet.).  The test for abuse of discretion is not whether, in the
opinion of the reviewing court, the facts present an appropriate case for the trial court's action, but
whether the court acted without reference to any guiding rules or principles; the mere fact that a trial
court may decide a matter within its discretionary authority differently than an appellate judge does
not demonstrate such an abuse.  Downer v. Aquamarine Operators, Inc., 701 S.W.2d 238 (Tex.
1985).  A court does not have discretion to determine what the law is, which law governs, or how
to apply the law.  See Walker v. Packer, 827 S.W.2d 833, 840 (Tex. 1992). 

Expert Report Requirement

	Lowrance concedes that, in this HCL suit, service of an expert report and curriculum vitae
is mandatory within 120 days.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(a).  The statute
requires that the claimant "shall . . . serve on each party or the party's attorney" the required report. 
Id.  As mentioned above, Lowrance timely served OST, but did not separately serve Young with the
report.  Should a claimant fail to serve the required report "as to a defendant physician or health care
provider," the statute requires that the trial court shall dismiss the claim with respect to that
defendant.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(b).  The dismissal is mandatory.  See
Thoyakulathu v. Brennan, 192 S.W.3d 849, 853 (Tex. App.--Texarkana 2006, no pet.).

"Alter Ego" or "Single Business Enterprise"

	Lowrance asks us to find that Young was served by virtue of the service on OST since, as
Lowrance asserts, the two are alter egos or a single business enterprise.  Presuming, without
deciding, that serving an expert report on an alter ego or single business enterprise codefendant
satisfies the HCL expert report requirement, we have no factual basis for concluding that Young and
OST are alter egos or a single business enterprise. 

	The Texas Supreme Court has set forth when regarding two entities as alter egos is
appropriate: 

		A subsidiary corporation will not be regarded as the alter ego of its parent
merely because of stock ownership, a duplication of some or all of the directors or
officers, or an exercise of the control that stock ownership gives to stockholders.  On
the other hand where management and operations are assimilated to the extent that
the subsidiary is simply a name or conduit through which the parent conducts its
business, the corporate fiction may be disregarded to prevent fraud or injustice. 

 

Gentry v. Credit Plan Corp., 528 S.W.2d 571, 573 (Tex. 1975); see also BMC Software Belgium,
N.V. v. Marchand, 83 S.W.3d 789, 799 (Tex. 2002) (requiring evidence of alter ego under Gentry). 
Evidence as proof of an alter ego includes:  (1) the payment of alleged corporate debts with personal
checks or other commingling of funds; (2) representations that the individual will financially back
the corporation; (3) the diversion of company profits to the individual for the individual's personal
use; (4)&nbsp;inadequate capitalization; and (5) other failure to keep corporate and personal assets
separate.  See Mancorp, Inc. v. Culpepper, 802 S.W.2d 226, 229 (Tex. 1990).

	The "single business entity" approach is similar.  Factors to be considered in determining
whether entities operate as a single business enterprise include:  (1) common employees;
(2)&nbsp;common offices; (3) centralized accounting; (4) payment of wages by one corporation to another
corporation's employees; (5) common business name; (6) services rendered by the employees of one
corporation on behalf of another corporation; (7) undocumented transfers of funds between
corporations; and (8) unclear allocation of profits and losses between corporations.  See Hoffman v.
Dandurand, 180 S.W.3d 340, 348 (Tex. App.--Dallas 2005, no pet.).

	No factual basis is presented either in Lowrance's pleading or evidence on any of the alter
ego or single business enterprise features listed above.  Lowrance, however, directs us to the
following "evidence" of alter ego or single business enterprise:  (1) Lowrance's assertions, in
plaintiffs' amended petition filed after Young's motion to dismiss, that Dr. Young and OST are
"d/b/a" each other, alter egos, and a single business enterprise; (2) Lowrance's statement, in his
original petition, that Young and OST could be served by the same agent; (3) Lowrance's statement,
in his original petition, that Young is "an orthopedic surgeon of Orthopedic Specialists of
Texarkana"; (4) the affidavit of Lowrance's attorney that he served the expert report on OST "d/b/a
John Young" to OST's substituted counsel; and (5) OST's "acknowledgment" of alter ego in its
motion to dismiss. 

	Lowrance's conclusory allegations--that Young and OST are alter egos, a single business
enterprise, "d/b/a" as each other, or "of" the other--in his petition, amended petition, and affidavit
do not suffice.  The party seeking to subject the alter ego to the court's jurisdiction or ruling must
plead and present some, usually significant, facts of the close relationship, as per the considerations
above, between the alleged alter ego entities. (3)  The burden of pleading and proving alter ego is
Lowrance's; the burden does not shift to Young and OST to negate alter ego until Lowrance has met
his burden.  See id. at 350; Wolf v. Summers-Wood, L.P., 214 S.W.3d 783, 791 (Tex. App.--Dallas
2007, no pet.) (in personal jurisdiction posture, general allegation of alter ego, without pleading or
offering evidence of underlying facts, insufficient).  In Hoffman, the court found pleadings that
alleged alter ego and single enterprise but which were unsupported by record evidence to be
insufficient.  Id. at 350-51; see also Laidlaw Waste Sys. (Dallas), Inc. v. City of Wilmer, 904 S.W.2d
656, 660 (Tex. 1995) (rejecting, in summary judgment context, conclusory pleadings not stating facts
since, generally, "pleadings are not competent evidence, even if sworn or verified"). 

	Similarly, Lowrance's assertion that Young and OST could be served through the same agent
is insufficient. (4)  See, e.g., James v. Gruma Corp., 129 S.W.3d 755 (Tex. App.--Fort Worth 2004,
pet. denied) (finding insufficient evidence of alter ego on evidence of only shared business address
and fact of one entity's acceptance of service for the other).  Moreover, we disagree that OST
acknowledged an alter ego status.  OST, in its motion to dismiss, asserted that Lowrance's vicarious
liability claim against OST, premised on Young's actions, must be dismissed for failure to serve
Young.  We see no reason, and Lowrance provides none, to view this legal argument as an admission
of alter ego.

	Finally, the trial court had before it controverting evidence:  an affidavit by OST's attorney
that Lowrance had never corresponded to OST "d/b/a" Young; the fax cover sheet alleged to have
been addressed to OST "d/b/a" Young but which shows no "d/b/a" designation or other
representation that more than one party was being served; OST's attorney's affidavit that OST does
not do business as Young; and OST's answers which state that its correct name is "Orthopedic
Specialists of Texarkana, PLLC."  See Tex. Bus. Orgs. Code Ann. § 301.003(6) (Vernon 2007)
(defining professional limited liability company).  We cannot say the court abused its discretion in
crediting this evidence in its determination that Lowrance's attempt to characterize Young and OST
as alter egos was inconsistent with its earlier pleadings.  Cf. Univ. of Tex. Health Sci. Ctr. v.
Gutierrez, No. 01-07-00455-CV, 2007 WL 2963689, at *5 (Tex. App.--Houston [1st Dist.] Oct. 11,
2007, no pet. h.) (separate HCL claims against separate defendants requires separate service of expert
report).

Conclusion

	There is no pleading or evidence of any factual matter that Young and OST are alter egos of
each other, a single business enterprise, or doing business as the other entity.  We need not answer
the question of whether service on an alter ego satisfies the expert report requirement since alter ego
has not been shown.  As Lowrance failed to serve an expert report on Young, and dismissal is
mandatory for failure to serve an expert report, the trial court did not abuse its discretion in
dismissing the claim. 

	Accordingly, we affirm the judgment.




						Jack Carter

						Justice


Date Submitted:	October 24, 2007

Date Decided:		November 14, 2007

1. Because Lowrance's cause of action accrued before September 1, 2005, the prior statute
applies.  However, the changes in the current version are not at issue in this appeal and for
simplicity, we cite to the current version of the statute.
2. Though Lowrance asks us to reverse "the motions to dismiss," plural, Lowrance does not
present any authority or argument regarding the basis of the court's dismissal of the direct liability
cause of action against OST--i.e., the inadequacy of the report that was served.  For an issue to be
properly before this Court, the issue must be supported by argument and authorities and must contain
appropriate citations to the record.  See Tex. R. App. P. 38.1(h); Knoll v. Neblett, 966 S.W.2d 622,
639 (Tex. App.--Houston [14th Dist.] 1998, pet. denied).  Thus, any error in the dismissal as to OST
is waived.  See Fredonia State Bank v. Gen. Am. Life Ins. Co., 881 S.W.2d 279, 284 (Tex. 1994).
3. See, e.g., Bland v. Ky. Fried Chicken Corp., 338 F.Supp. 871 (S.D. Tex. 1971) (evidence
included depositions and exhibits addressing stock ownership, director control, purchase
arrangements, and other specific relationships between served franchisor defendant and unserved
franchisee); Gentry, 528 S.W.2d at 573-75 (evidence detailed stock and note structuring; office,
agent, officer, and director overlap; business and employee structure; tax returns; balance sheets; and
corporate minutes); Boyo v. Boyo, 196 S.W.3d 409, 420-21 (Tex. App.--Beaumont 2006, no pet.)
(court looked at witness testimony, bank records, and tax records, among other evidence). 
4. Even if the two shared an agent, Lowrance actually served Young and OST separately. 
Lowrance served the pre-suit notice and citation on Young in Birmingham, Alabama, and served
OST in Texarkana; Lowrance served his amended petition (after the allegation of alter ego)
separately on Young and OST, through their separate attorneys, as required by the rules.  See Tex.
R. Civ. P. 8. 

